                                                                DEPUTY
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 DANVILLE DIVISION


     UNITED STATES OF AMERICA

                 v.                                    Case No. 4:18-cr-00011

     MATTHEW CAESAR FERGUSON



                                      PLEA AGREEMENT

             I have agreed to enter into a plea agreement with the United States of America,
     pursuant to Rule 11 of the Federal Rules of Criminal Procedure. The terms and conditions
     of this agreement are as follows:

     A. CHARGE(S) TO WIDCH I AM PLEADING GUILTY AND WAIVER OF
        RIGHTS

        1. The Charges and Potential Punishment

           My attorney has informed me of the nature of the charges and the elements of the
     charges that must be proved by the United States beyond a reasonablg doubt before I could
     be found guilty as charged.

            I will enter a plea of guilty to Count 1 of the First Superseding Indictment.

            Count 1 charges me with conspiracy to violate Title 18, United States Code, Section
     1962(c) (RICO Conspiracy), in violation of Title 18, United States Code, Sections 1962(d)
     and 1963. The maximum statutory penalty for this charge is up to life imprisonment, a fine
     of $250,000 or twice the gross profits or other proceeds obtained, directly or indirectly,
     from racketeering activity, plus a term of supervised release of five years.

            I understand and agree that I knowingly conspired and agreed that a conspirator
     would conduct and participate, directly and indirectly, in the conduct of the affairs of the
     enterprise through a pattern of racketeering activity. During and in furtherance of the


     Defendant'; Initials:;f!/f

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     conspiracy, I personally agreed to commit acts chargeable under Virginia Code Section
     18.2-32 (murder), Virginia Code Sections 18.2-32, 18.2-25 and 18.2-26 (attempted
     murder), and 21 United States Code§§ 841 and 846 (conspiracy to distribute a controlled
     substance, to-wit: marijuana).

            a.     Racketeering Acts

             I agree and will acknowledge at the time of the plea of guilty to the criminal activity
     that I was involved in and will be held responsible for each of the racketeering acts set forth
     in the Statement of Facts filed in my case and which is incorporated herein by reference.

            b.     Use and Possession of a Firearm

             I agree and will acknowledge at the time of the plea of guilty to the criminal activity
     set forth in Count 1, including the racketeering acts set forth therein, that I possessed and
     used firearms to facilitate the commission of the racketeering acts and the affairs of the
     enterprise.

            c.     Miscellaneous

             I understand restitution may be ordered, my assets may be subject to forfeiture, and
     fees may be imposed to pay for incarceration, supervised release, and costs of prosecution.
     In addition, a $100 special assessment, pursuant to 18 U.S.C. § 3013, will be imposed per
     felony count of conviction. I further understand my supervised release may be revoked if
     I violate its terms and conditions. I understand a violation of supervised release increases
     the possible period of incarceration.

            I am pleading guilty as described above because I am in fact guilty and because I
     believe it is in my best interest to do so and not because of any threats or promises. There
     has been no promise made whatsoever by any agent or employee of the United States to
     me as to what the final disposition of this matter will be.

        2. Waiver of Constitutional Rights Upon a Plea of Guilty

            I acknowledge I have had all of my rights explained to me and I expressly recognize
     I have the following constitutional rights and, by voluntarily pleading guilty, I knowingly
     waive and give up these valuable constitutional rights:

            a. The right to plead not guilty and persist in that plea;



     Defendant's Initill/s:!lliF

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           b. The right to a speedy and public jury trial;
           c. The right to assistance of counsel at that trial and in any subsequent appeal;
           d. The right to remain silent at trial;
           e. The right to testify at trial;
           f. The right to confront and cross-examine witnesses called by the government;
           g. The right to present evidence and witnesses in my own behalf;
           h. The right to compulsory process of the court;
           1. The right to compel the attendance of witnesses at trial;
           j. The right to be presumed innocent;
           k. The right to a unanimous guilty verdict; and
           1. The right to appeal a guilty verdict.


     B. SENTENCING PROVISIONS

        1. General Matters

            I understand the determination of what sentence should be imposed, within the
     confines of any applicable statutory minimums and maximums, is in the sole discretion of
     the Court subject to its consideration of the United States Sentencing Guidelines
     ("guidelines" or "U.S.S.G") and the factors set forth at 18 U.S.C. § 3553(a). I understand
     I will have an opportunity to review a copy of my presentence report in advance of my
     sentencing hearing and may file objections, as appropriate. I will have an opportunity at
     my sentencing hearing to present evidence, bring witnesses, cross-examine any witnesses
     the government calls to testify, and argue to the Court what an appropriate sentence should
     be.                                                                  ·

            I understand I will not be eligible for parole during any term of imprisonment
     imposed. I have discussed sentencing issues with my attorney and realize there is a
     substantial likelihood I will be incarcerated.

            I understand the Court is not bound by any recommendation or stipulation and may
     sentence me up to the statutory m~imum. I understand I will not be allowed to withdraw
     my plea of guilty if the Court disregards the stipulations and/or recommendations set forth
     in the plea agreement. I understand the government will object to any sentence below the
     guideline range.




     Defendant's Initials:;&

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        2. Sentencing Guidelines

           I stipulate and agree that all matters pertaining to any of the counts of the charging
    documents, including any dismissed counts, are relevant conduct for purposes of
    sentencing.

           The parties agree the 2016 edition of the United States Sentencing Guidelines
    Manual applies to any guidelines calculation made pertaining to my ·offense. I understand
    guideline sections may be applicable to my case and the United States and I will be free to
    argue whether these sections should or should not apply to the extent the arguments are not
    inconsistent with the stipulations, recommendations, and terms set forth in this plea
    agreement.

            I agree to accept responsibility for my conduct. If I comply with my obligations
    under this plea agreement and accept responsibility for my conduct, the United States will
    recommend the Court grant me a two-level reduction in my offense level, pursuant to
    U.S.S.G. § 3El.1(a) and, if applicable, at sentencing, will move that I receive a one-level
    reduction in my offense level, pursuant to U.S.S.G. § 3El.1(b). However, I stipulate that
    ifl fail to accept responsibility for my conduct or fail to comply with any provision of this
    plea agreement, I should not receive credit for acceptance of responsibility.

        3. Substantial Assistance

           I understand the United States retains all of its rights pursuant to Fed. R. Crim. P.
    35(b), U.S.S.G. §5Kl.1 and 18 U.S.C. § 3553(e). I understand even if I fully cooperate
    with law enforcement, the United States is under no obligation to make a motion for the
    reduction of my sentence. I understand if the United States makes a motion for a reduction
    in my sentence, the Court, after hearing the evidence, will determine how much of a
    departure, if any, I should be given.

        4. Monetary Obligations

            a. Special Assessments; Fines and Restitution

            I understand persons convicted of crimes are required to pay a mandatory
     assessment of $100.00 per felony count of conviction. I agree I will submit to the U.S.
     Clerk's Office, a certified check, money order, or attorney's trust check, made payable to
     the "Clerk, U.S. District Court" for the total amount due for mandatory assessments prior
     to entering my plea of guilty.


     Defendant's Initials:   l'1lf
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            I agree to pay restitution for the entire scope of my criminal conduct, including, but
    not limited to, all matters included as relevant conduct. In addition, I agree to pay any
    restitution required by law, including, but not limited to, amounts due pursuant to 18 USC
    §§ 2259, 3663, and/or 3663A. I understand and agree a requirement I pay restitution for
    all of the above-stated matters will be imposed upon me as part of any final judgment in
    this matter.

            I further agree to make good faith efforts toward payment of all mandatory
    assessments, restitution and fines, with whatever means I have at my disposal. I agree
    failure to do so will constitute a violation of this agreement. I will execute any documents
    necessary to release the funds I have in any repository, bank, investment, other financial
    institution, or any other location in order to make partial or total payment toward the
    mandatory assessments, restitution and fmes imposed in my case.

            I fully understand restitution and forfeiture are separate financial obligations which
     may be imposed upon a criminal defendant. I further understand there is a process within
     the Department of Justice whereby, in certain circumstances, forfeited funds may be
     applied to restitution obligations. I understand no one has made any promises to me that ·
     such a process will result in a decrease in my restitution obligations in this case.

            I understand and agree, pursuant to 18 U.S.C. §§ 3613 and 3664(m), whatever
     monetary penalties are imposed by the Court will be due immediately and subject to
     immediate enforcement by the United States as provided for by statute. I understand if the
     Court imposes a schedule of payments, that schedule is only a minimum schedule of
     payments and not the only method, nor a limitation on the methods, available to the United
     States to enforce the judgment.

            I agree to grant the United States a wage assignment, liquidate assets, or complete
     any other tasks which will result in immediate payment in full, or payment in the shortest
     time in which full payment can be reasonably made as required under 18 U.S.C. § 3572(d).

            I expressly authorize the United States Attorney's Office to obtain a credit report on
     me in order to evaluate my ability to satisfy any financial obligation imposed by the Court.

            I agree the following provisions, or words of similar effect, should be included as
     conditions of probation and/or supervised release: (1) "The defendant shall notify the
     Financial Litigation Unit, United States Attorney's Office, in writing, of any interest in
     property obtained, directly or indirectly, including any interest obtained under any other



     Defendant's Initials:   1/i,E_
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    name, or entity, including a trust, partnership or corporation after the execution of this
    agreement until all fmes, restitution, money judgments and monetary assessments are paid
    in ~ll" and (2) "The Defendant shall notify the Financial Litigation Unit, United States
    Attorney's Office, in writing, at least 30 days prior to transferring any interest in property
    owned directly or indirectly by Defendant, including any interest held or owned under any
    other name or entity, including trusts, partnership and/or corporations until all fmes,
    restitution, money judgments and monetary assessments are paid in full."

             The parties will also jointly recommend that as a condition of probation or
     supervised release, Defendant will notify the Financial Litigation Unit, United States
     Attorney's Office, before Defendant transfers any interest in property owned directly or
     indirectly by Defendant, including any interest held or owned under any other name or
     entity, including trusts, partnership and/or corporations. See 18 U.S.C. § 3664(k), (n).

            Regardless of whether or not the Court specifically directs participation or imposes
     a schedule of payments, I agree to fully participate in inmate employment under any
     available or recommended programs operated by the Bureau of Prisons.

             I agree any payments made by me shall be applied fully to the non-joint and several
     portion of my outstanding restitution balance until the non-joint and several portion of
     restitution is paid in full, unless the Court determines that to do so would cause a hardship
     to a victim of the offense(s).

            b. Duty to Make Financial Disclosures

            I understand in this case there is a possibility substantial fines and/or restitution may
     be imposed. In order to assist the United States as to any recommendation and in any
     necessary collection of those sums, I agree, if requested by the United States, to provide a
     complete and truthful financial statement to the United States Attorney's Office, within 30
     days of the request or 3 days prior to sentencing, whichever is earlier, detailing all income,
     expenditures, assets, liabilities, gifts and conveyances by myself, my spouse and my
     dependent children and any corporation, partnership or other entity in which I hold or have
     held an interest, for the period starting on January 1st of the year prior to the year my
     offense began and continuing through the date of the statement. This financial statement
     shall be submitted in a form acceptable to the United States Attorney's office.

           From the tjme of the signing of this agreement or the date I sign the financial
     statement, whichever is earlier, I agree not to convey anything of value to any person
     without the authorization of the United States Attorney's Office.


     Defendant's Initials:   lj}j£
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           c. Understanding of Collection Matters

           I understand:

           1. as part of the judgment in this case I will be ordered to pay one or more monetary
              obligations;
           2. payment should be made as ordered by the Court;
           3. I must mail payments, by cashier's check or money order, payable to the "Clerk,
              U.S. District Court" to: 210 Franklin Road, S.W. Room 540, Roanoke, Virginia
              24006; and include my name and court number on the check or money order;
           4. interest (unless waived by the Court) and penalties must be imposed for late or
              missed paymepts;
           5. the United States may file liens on my real and personal property that will remain
              in place until monetary obligations are paid in full, or until liens expire (the later
              of 20 years from date of sentencing or release from incarceration);
           6. if I retain counsel to represent me regarding the United States' efforts to collect
              any of my monetary obligations, I will immediately notify the United States
              Attorney's Office, ATTN: Financial Litigation Unit, P.O. Box 1709, Roanoke,
              Virginia 24008-1709, in writing, of the fact of my legal representation; and
           7. I, or my attorney if an attorney will represent me regarding collection of
              monetary obligations, can contact the U.S. Attorney's Office's Financial
              Litigation Unit at 540/857-2259.

    C. ADDITIONAL MATTERS

       1. Waiver of Right to Appeal

           Knowing that I have a right of direct appeal of my sentence under 18 U.S.C. §
    3742(a) and the grounds listed therein, I expressly waive the right to appeal my sentence
    on those grounds or on any ground. In addition, I hereby waive my right of appeal· as to
    any and all other issues in this matter and agree I will not file a notice of appeal. I am
    knowingly and voluntarily waiving any right to appeal. By signing this agreement, I am
    explicitly and irrevocably directing my attorney not to file a notice of appeal.
    Notwithstanding any other language to the contrary, I am not waiving my right to appeal
    or to have my attorney file a notice of appeal, as to any issue which cannot be waived, by
    law. I understand the United States expressly reserves all of its rights to appeal. I agree
    and understand if I file any court document (except for an appeal based on an issue
    that cannot be waived, by law, or a collateral attack based on ineffective assistance of


    Defendant's Initials:   if'{F
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    counsel) seeking to disturb, in any way, any order imposed in my case such action
    shall constitute a failure to comply with a provision of this agreement.

        2. Waiver of Right to Collaterally Attack

            I waive any right I may have to collaterally attack, in any future proceeding, any
    order issued in this matter, unless such attack is based on ineffective assistance of counsel,·
    and agree I will not file any document which seeks to disturb any such order, unless such
    filing is based on ineffective assistance of counsel. I agree and understand that if I file
    any court document (except fQr an appeal based on an issue not otherwise waived in
    this agreement; an appeal based on an issue that cannot be waived, by law; or a
    collateral attack based on ineffective assistance of counsel) seeking to disturb, in any
    way, any order imposed in my case, such action shall constitute a failure to comply
    with a provision of this agreement.

        3. Information Access Waiver

            I knowingly and voluntarily agree to waive all rights, whether asserted directly or
     by a representative, to request or receive from any department or agency of the United
     States any records pertaining to the investigation or prosecution of this case, including
     without limitation any records that may be sought under the Freedom of Information Act,
     5 U.S.C. §552, or the Privacy Act of 1974, 5 U.S.C. §552a.

        4. Waiver of Witness Fee

            I agree to waive all rights, claims or interest in any witness fee I may be eligible to
     receive pursuant to 28 U.S.C. § 1821, for my appearance at any Grand Jury, witness
     conference or court proceeding.

        5. Abandonment of Seized Items

             By signing this plea agreement, I hereby abandon my interest in, and consent to the
     official use, destruction or other disposition of each item obtained by any law enforcement
     agency during the course of the investigation, unless such item is specifically provided for
     in another provision of this plea agreement. I further waive any and all notice of any
     proceeding to implement the official use, destruction, abandonment, or other disposition of
     such items.




    Defendant's InitiaJ/1!f

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       6. Deportation

           I understand that, if I am not a citizen of the United States, I may be subject to
    deportation from the United States as a result of my conviction for the offense(s) to which
    I am pleading guilty.

       7. Denial of Federal Benefits

           At the discretion of the court, I understand I may also be denied any or all federal
    benefits, as that term is defined in 21 U.S.C. § 862, (a) for up to five years if this is my first
    conviction of a federal or state offense consisting of the distribution of controlled
    substances, or up to one year if this is my first conviction of a federal or state offense
    involving the possession of a controlled substance; or (b) for up to ten years if this is my
    second conviction of a federal or state offense consisting of the distribution of controlled
    substances, or up to five years if this is my second or more conviction of a federal or state
    offense involving the possession of a controlled substance. If this is my third or more
    conviction of a federal or stat~ offense consisting of the distribution of controlled
    substances, I understand I could be permanently ineligible for all federal benefits, as that
    term is defmed in 21 U.S.C. § 862(d).

       8. Admissibility of Statements

           I understand if I fail to plead guilty in accordance with this agreement or withdraw
    my plea(s) of guilty any statements I make (including this plea agreement, and my
    admission of guilt) during or in preparation for any guilty plea hearing, sentencing hearing,
    or other hearing and any statements I make or have made to law enforcement agents, in
    any setting (including during a proffer), may be us~d against me in this or any other
    proceeding. I knowingly waive any right I may have under the Constitution, any statute,
    rule or other source of law to have such statements, or evidence derived from such
    statements, suppressed or excluded from being admitted into evidence and stipulate that
    such statements can be admitted into evidence. If I withdraw my guilty plea based solely
    on the Court's rejection of the plea agreement, the provisions of this paragraph will not
    apply.

       9. Additional Obligations

           I agree not to commit any of the following acts:

               •   attempt to withdraw my guilty plea;


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                • deny I committed any crime to which I have pled guilty;
                • make or adopt any arguments or objections to the presentence report that are
                  inconsistent with this plea agreement;
                • obstruct justice;
                • fail to comply with any provision of this plea agreement;
                • commit any other crime;
                • make a false statement; or
                • fail to enter my plea of guilty when scheduled to do so, unless a continuance
                  is agreed to by the United States Attorney's Office and granted by the Court.

     D. REMEDIES AVAIT..ABLE TO THE UNITED STATES

             I hereby stipulate and agree that the United States Attorney's office may, at its
     election, pursue any or all of the following remedies if I fail to comply with any provision
     of this agreement: (a) declare this plea agreement void; (b) refuse to dismiss any charges;
     (c) reinstate any dismissed charges; (d) file new charges; (e) withdraw any substantial
     assistance motion made, regardless of whether substantial assistance has been performed;
     (f) refuse to abide by any provision, stipulations, and/or recommendations contained in this
     plea agreement; or (g) take any other action provided for under this agreement or by statute,
     regulation or court rule.

             In addition, I .agree if, for any reason, my conviction is set aside, or I fail to comply
     with any obligation under the plea agreement, the United States may file, by indictment or
     information, any charges against me which were filed and/or could have been filed
     concerning the matters involved in the instant investigation. I hereby waive my right under
     Federal Rule of Criminal Procedure 7 to be proceeded against by indictment and consent
     to the filing of an information against me concerning any such charges. I also hereby waive
     any statute of limitations defense as to any such charges.

            The remedies set forth above are cumulative and not mutually exclusive. The
     United States' election of any <;>fthese remedies, other than declaring this plea agreement
     void, does not, in any way, terminate my obligation to comply with the terms of the plea
     agreement. The use of"if' in this section does not mean "if, and ortly if."

     E. GENERAL PROVISIONS

        1. Limitation of Agreement

            This agreement only binds the United States Attorney's Office for the Western


     Defendant's    Initials:~
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     District of Virginia. It does not bind any state or local prosecutor, other United States
     Attorney's Office or other office or agency of the United States Government, including,
     but not limited to, the Tax Division of the United States Department of Justice, or the
     Internal Revenue Service of the United States Department of the Treasury. These
     individuals and agencies remain free to prosecute me for any offense(s) committed within
     their respective jurisdictions.

        2. Effect of My Signature

            I understand my signature on this agreement constitutes a binding offer by me to
     enter into this agreement. I understand the United States has not accepted my offer until it
     signs the agreement.

        3. Effective Representation

             I have discussed the terms ofthe foregoing plea agreement and all matters pertaining
     to the charges against me with my attorney and am fully satisfied with my attorney and my
     attorney's advice. At this time, I have no dissatisfaction or complaint with my attorney's
     representation. I agree to make known to the Court no later than at the time of sentencing
     any dissatisfaction or complaint I may have with my attorney's representation.

        4. Misconduct

            If I have any information concerning any conduct of any government attorney,
     agent, employee, or contractor which could be construed as misconduct or an ethical, civil,
     or criminal violation, I agree to make such conduct known to the United States Attorney's
     Office and the Court, in writing, as soon as possible, but no later than my sentencing
     hearing.

        5. Final Matters

            I understand the Court is not bound by any recommendations or stipulations
     contained in this agreement and may sentence me up to the maximum provided by law.

           I understand if the sentence is more severe than I expected, I will have no right to
     withdraw my guilty plea.

          I understand a thorough presentence investigation will be conducted and sentencing
     recommendations independent of the United States Attorney's Office will be made by the


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     presentence preparer, which the Court may adopt or take into consideration. I understand
     any calculation regarding the guidelines by the United States Attorney's Office or by my
     attorney is speculative and is not binding upon the Court, the Probation Office or the United
     States Attorney's Office. No guarantee has been made by the United States Attorney's
     Office regarding the effect of the guidelines on my case.

            I understand the prosecution will be free to allocute or describe the nature of this
     offense and the evidence in this case and, in all likelihood, will recommend I receive a
     substantial sentence.

             I understand the United States retains the right, notwithstanding any provision in
     this plea agreement, to inform the Probation Office and the Court of all relevant facts, to
     address the Court with respect to the nature and seriousness of the offense(s), to respond
     to any questions raised by the Court, to correct any inaccuracies or inadequacies in the
     presentence report and to respond to any statements made to the Court by or on behalf of
     the defendant.

            I willingly stipulate there is a sufficient factual basis to support each and every
     material factual allegation contained within the charging document(s) to which I am
     pleading guilty.

             I understand this agreement does not apply to any crimes or charges not addressed
     in this agreement. I understand if I should testify falsely in this or in a related proceeding
     I may be prosecuted for perjury and statements I may have given authorities pursuant to
     this agreement may be used against me in such a proceeding.

             I understand my attorney will be free to argue any mitigating factors on my behalf;
     to the extent they are not inconsistent with the terms of this agreement. I understand I will
     have an opportunity to personally address the Court prior to sentence being imposed.

             This writing sets forth the entire understanding between the parties and constitutes
     the complete plea agreement between the United States Attorney for the Western District
     of Virginia and me, and no other additional terms or agreements shall be entered except
     and unless those other terms or agreements are in writing and signed by the parties. This
     plea agreement supersedes all prior understandings, promises, agreements, or conditions,
     if any, between the United States and me.

             I have consulted with my attorney and fully understand all my rights. I have read
     this plea agreement and carefully reviewed every part of it with my attorney. I understand



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     this agreement and I voluntarily agree to it. I have not been coerced, threatened, or
     promised anything other than the terms of this plea agreement, described above, in
     exchange for my plea of guilty. Being aware of all of the possible consequences of my
     plea, I have independently decided to enter this plea of my own free will, and am affirming
     that agreement on this date and by my signature below.



     Date:   J{- (JCf- {iO( S:
             I
                                                ~~N
                                                 Defendant

             I have fully explained all rights available to my client with respect to the offenses
     listed in the pending charging document(s). I have carefully reviewed every part of this
     plea agreement with my client. To my knowledge, my client's decision to enter into this
     agreement is an informed and voluntary one.

             Ifl will continue to represent my client regarding the United States' efforts to collect
     any monetary obligations, I will notify the United States Attorney's Office, AT1N:
     Financial Litigation Unit, P.O. Box 1709, Roanoke, Virginia 24008-1709, in writing, of
     the fact of my continued legal representation within 10 days of the entry of judgmerit in
     this case.


     Date:       l' / 0 'f..( Z-0 I f'
                       I      I
                                                 Counsel for Defendant



     Date:        l(
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                                  i

                                                 Assistant United States Attorney

                                                 Ronald M. Huber
                                                 Assistant United States Attorney




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